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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


      GARY LEE LANDERS, #1906095                      §
                                                      §
      VS.                                             § CIVIL ACTION NO. 4:18cv601
                                                      §
      DIRECTOR, TDCJ-CID                              §

                                         ORDER OF DISMISSAL

             This civil action was referred to United States Magistrate Judge Christine A. Nowak. The

      Report and Recommendation of the Magistrate Judge, which contains proposed findings of fact and

      recommendations for the disposition of such action, has been presented for consideration. No

      objections were timely filed. The Court concludes that the findings and conclusions of the

      Magistrate Judge are correct, and adopts the same as the findings and conclusions of the Court.

             It is therefore ORDERED the petition for writ of habeas corpus is DENIED and
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      DISMISSED with prejudice. A certificate of appealability is DENIED.

             It is further ORDERED all motions by either party not previously ruled on are hereby

      DENIED.

            SIGNED this 28th day of September, 2021.




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                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
